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                IN THE UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

SIEMENS PRODUCT LIFECYCLE
MANAGEMENT SOFTWARE INC.,
                    Plaintiffs,

vs.
                                                   Civil Action No. 18-CV-11524
                                                   HON. MARK A. GOLDSMITH
NUMERIC CONCEPT & DESIGN
L.L.C.,
                    Defendant.


                     NOTICE OF OFFER OF JUDGMENT
Whereas on September 12, 2018 NUMERIC CONCEPT & DESIGN L.L.C. served
a Rule 68 offer of judgment on the Plaintiff in this action. This offer was not
accepted by the Plaintiff within the statutory period.

October 23, 2018                  Respectfully Submitted,

                                  By: /s/ J. Curtis Edmondson
                                  J. Curtis Edmondson (WA SBN 43795)
                                  3699 NE John Olsen Ave
                                  Hillsboro, OR 97124
                                  503-336-3749
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                                  Counsel for Defendant
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                          CERTIFICATE OF SERVICE

I hereby certify that on October 23, 2018, I electronically filed the foregoing:


NOTICE OF OFFER OF JUDGMENT


with the Clerk of the Court using the ECF system which will send notification of
such filing to counsel of record.


October 23, 2018

                                    By: /s/ J. Curtis Edmondson




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